Case 1:12-cr-00257-HYJ         ECF No. 778, PageID.4578          Filed 05/01/15      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:12-CR-257-03

v.                                                          HON. ROBERT HOLMES BELL

THOMAS VERBURG,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Thomas Verburg has filed a motion for modification or reduction of sentence

(ECF No. 727) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       The Probation Department filed a sentence modification report on April 8, 2015 (ECF No.

770). In its report, the probation department recommended the defendant is eligible for reduction

in sentence based on defendant currently being an inmate, USSG § 2D1.1 was used in the guideline

calculations, and the guideline range applicable to the defendant subsequently has been lowered as
Case 1:12-cr-00257-HYJ         ECF No. 778, PageID.4579          Filed 05/01/15       Page 2 of 2




a result of the retroactive amendment to the Sentencing Guidelines (782). A reduction of sentence

is consistent with the policy statements of the U.S. Sentencing Commission.

       The parties have filed a stipulation on reduction of sentence (ECF No. 773), requesting the

Court amend the defendant’s judgment, to time served effective November 1, 2015, with the

remaining provision of the August 30, 2013, judgment being re-incorporated therein.

       NOW THEREFORE, IT IS ORDERED that the stipulation on reduction of sentence (ECF

No. 773) is GRANTED IN PART AND DENIED IN PART. The motion is granted as to a sentence

reduction and denied as to time served. The Court will leave it to the discretion of the Federal

Bureau of Prisons to determine Defendant’s release date.

       IT IS FURTHER ORDERED that Defendant's motion for modification of sentence (ECF No.

727) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Thomas Verburg’s sentence shall

be reduced to 29 months imprisonment, effective November 1, 2015. An order effectuating the

sentence reduction shall issue forthwith.




Dated: May 1, 2015                             /s/ Robert Holmes Bell
                                               ROBERT HOLMES BELL
                                               UNITED STATES DISTRICT JUDGE
